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                           Exhibit A to Joint Pretrial Memorandum
                         (The Litigation Administrator’s Witness List)

       The Litigation Administrator may call the witnesses below at trial. This list is not a

commitment that the Litigation Administrator will call any particular witness at trial, or a

representation that any of the witnesses listed are available or will appear for trial. The Litigation

Administrator reserves the right to call any witnesses identified below, and to revise this list in

light of further rulings by the Court or any other changed circumstances.             The Litigation

Administrator further reserves the right to call one or more additional witnesses for purposes of

rebuttal or impeachment, or whose testimony is necessary to establish authenticity or admissibility

of any trial exhibit that is challenged by Defendant. The Litigation Administrator identifies as

potential trial witnesses any witnesses identified by Valdese.

                              Witnesses Expected to Be Presented

1.     Brian Ryniker, c/o Schuyler G. Carroll and Noah Weingarten, 345 Park Avenue, New
       York, NY 10154, 212-407-4000.

2.     Karl Knechtel, c/o Schuyler G. Carroll and Noah Weingarten, 345 Park Avenue, New
       York, NY 10154, 212-407-4000.

3.     Lee Silberman, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-478-
       7350.

4.     Timothy Boates, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-
       478-7350.

5.     Robert Tetreault, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-
       478-7350.

6.     Mike Shelton, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the Americas,
       New York, NY 10019, 212-451-2300.

7.     Bob Walters, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the Americas,
       New York, NY 10019, 212-451-2300.
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                          Witnesses Expected to Be Called If Need Arises

1.         Michael S. Fox, 1325 Avenue of the Americas, New York, NY 10019, 212-451-2277.

2.         Corporate Representative / Custodian of Records from Wells Fargo, c/o Jonathan N. Helfat,
           230 Park Avenue, New York, NY 10169, 212-661-9100.

3.         Timothy Sunden, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-
           478-7350.

4.         Timothy Puopolo, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-
           478-7350.

5.         Kristine Snow, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-478-
           7350.

6.         William Fuchs, c/o Mark T. Power, 488 Madison Avenue, New York, NY 10022, 212-
           478-7350.

7.         Katie Maddox, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the
           Americas, New York, NY 10019, 212-451-2300.

8.         Katie Pritchard, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the
           Americas, New York, NY 10019, 212-451-2300.

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